        Case 1:21-cv-02900-CJN Document 124-1 Filed 12/01/23 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP., et al.,

                   Plaintiffs,                       No. 1:21-cv-02900-CJN
       v.

HERRING NETWORKS, INC.,                              Magistrate Judge Moxila A. Upadhyaya

                   Defendant.


           DECLARATION OF JAMES R. BEDELL IN SUPPORT OF
PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF FINANCIAL DOCUMENTS

       I, James R. Bedell, make this declaration pursuant to 28 U.S.C. § 1746. I hereby declare

under penalty of perjury that the following is true and correct:

       1.      I am over the age of 18, I am competent to make this declaration, and I have

personal knowledge of the facts stated herein. These facts are true to the best of my knowledge,

information, and belief, and if called upon to testify as a witness, I could and would testify

competently to them.

       2.      I am an attorney at the law firm Benesch, Friedlander, Coplan & Aronoff LLP and

I represent Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO

Corporation (collectively, “Smartmatic”) in this action.

       3.      Attached as Exhibit A is a true and correct copy of Smartmatic’s First Set of

Requests for Production, dated October 21, 2022.

       4.      Attached as Exhibit B is a true and correct copy of Defendant’s Responses and

Objections to Smartmatic’s First Set of Requests for Production, dated December 16, 2022.




                                                 1
        Case 1:21-cv-02900-CJN Document 124-1 Filed 12/01/23 Page 2 of 3




       5.      In a January 3, 2023 letter from Michael Bloom to Brian Ledebuhr, Smartmatic

explained to OANN how OANN’s financial condition was relevant to the issue of actual malice.

       6.      In a February 3, 2023 letter from Michael Bloom to Brian Ledebuhr, Smartmatic

memorialized the substance of the parties meet-and-confer calls from January 25 and January 27,

2023, in which OANN took the position that producing documents relevant to its financial

condition was premature because there had been no judgment issued giving rise to a damages

analysis.

       7.      In a February 17, 2023 letter from Brian Ledebuhr to Michael Bloom and Olivia

Sullivan, Herring Networks Inc. (“OANN”) disputed that its financial condition was relevant to

actual malice or that the issue of punitive damages was ripe.        OANN offered to produce

communications concerning any relationship between its financials and any Smartmatic entity or

the alleged defamatory statements, and it offered to produce documents showing any revenue

generated from the at-issue broadcasts.

       8.      In a February 27, 2023 letter from Olivia Sullivan to Brian Ledebuhr, Smartmatic

indicated to OANN that it believed the parties were at an impasse on the issue of OANN’s financial

documents.

       9.      In a March 20, 2023 letter from Brian Ledebuhr to Michael Bloom and Olivia

Sullivan, OANN disagreed with Smartmatic’s position that the parties had reached an impasse on

the issue of discovery into OANN’s financial documents.

       10.     In a March 23, 2023 letter from Michael Bloom to Brian Ledebuhr, Smartmatic

noted that the parties had already met and conferred and exchange several letters on the topic of

OANN’s financial documents. Smartmatic noted that the parties were no closer to a resolution


                                                2
        Case 1:21-cv-02900-CJN Document 124-1 Filed 12/01/23 Page 3 of 3




than when they first discussed the issue months prior, and OANN dismissed the case law raised

by Smartmatic as distinguishable without providing any explanation as to why.

       11.     In a March 27, 2023 letter from Brian Ledebuhr to Michael Bloom, OANN

reiterated its prior position and proposed compromise, and it accused Smartmatic of refusing to

engage in good faith discussion on the issue of its financial documents.

       12.     In a March 28, 2023 letter from Michael Bloom to Brian Ledebuhr, Smartmatic

identified case law supporting its position and distinguished the case law OANN cited. Smartmatic

reiterated that it believed the parties were at an impasse on the issue.

       13.     In an April 3, 2023 letter from Brian Ledebuhr to Michael Bloom and Olivia

Sullivan, OANN agreed the parties were at an impasse on the issue of its financial documents.

       I declare under penalty of perjury that the foregoing is true and correct.




Date: December 1, 2023                         ______________________________________
                                               James R. Bedell (admitted pro hac vice)
                                               Benesch, Friedlander, Coplan & Aronoff LLP
                                               127 Public Square, Suite 4900
                                               Cleveland, OH 44114
                                               216.363.4500


                                               Attorney for Plaintiffs Smartmatic USA Corp.,
                                               Smartmatic International Holding B.V., and SGO
                                               Corporation Limited




                                                  3
